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 8                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                   Case No. 2:20-6242-MCS-AGR
11
                         Plaintiff,              JUDGMENT
12
13                 v.
14
     $41,400.00 IN U.S. CURRENCY
15
                         Defendant.
16
17
18         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all right,
19   title, and interest of potential claimant Norberto Lazo and all other potential claimants
20   in and to the defendant currency are condemned and forfeited to the United States of
21   America. The government shall dispose of the defendant currency according to law.
22
23   Dated: January 8, 2021                 ________________________________
24                                          MARK C. SCARSI
                                            UNITED STATES DISTRICT JUDGE
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